
PER CURIAM.
The appellants’ complaint to enforce a contract for the redemption of stock was dismissed on the grounds that it contained no allegation of compliance with the probate claims statute, Section 733.702(1), Florida Statutes (1975). We do not believe such an allegation was necessary for the complaint to state a cause of action. Stern v. First National Bank of South Miami, 275 So.2d 58 (Fla. 3d DCA 1973). Moreover, it appears that the cause of action set out in the complaint does not come within the purview of Section 733.702(1). Accordingly, the order of dismissal is hereby reversed.
ALDERMAN, C. J., and DOWNEY and ANSTEAD, JJ., concur.
